         Case 1:15-cv-01014-ER Document 168 Filed 09/30/18 Page 1 of 2




UNITED STATES DISTRICT COURT
SOUTHERN DISTRICT OF NEW YORK

SAUL CHILL and SYLVIA CHILL, for the
use and benefit of the CALAMOS GROWTH
FUND,
                                                                        ORDER
                               Plaintiffs,
                                                                   15 Civ. 1014 (ER)
                   -against-

CALAMOS ADVISORS LLC,

                               Defendant.



Ramos, D.J.:

       Before the Court are several motions. Defendant Calamos Advisors LLC moves for

summary judgment against Plaintiffs Saul and Sylvia Chill. Doc. 65. In connection with the

motion, both parties have moved, pursuant to Daubert v. Merrell Dow Pharm., Inc., 509 U.S.

579 (1993), to exclude certain expert testimony. Docs. 88, 106, 109, 112, 115, 118.

       The Court has provided the parties with a copy of its Opinion. The Opinion has not been

posted publicly. The parties have until the end of business Wednesday, October 3, 2018, to

provide the Court with their recommendations, on consent, of the matters that ought to be

redacted in accordance with the Protective Order entered herein, Doc. 32.

       For the reasons set forth in the Opinion, Calamos’ motion for summary judgment is

GRANTED insofar as Calamos seeks to establish that Plaintiffs have failed to raise triable issues

of fact related to economies of scale and fall-out benefits, and DENIED insofar as Calamos seeks

judgment as a matter of law on the other Gartenberg factors and Section 36(b) liability generally.

Moreover, the parties’ Daubert motions are DENIED.
         Case 1:15-cv-01014-ER Document 168 Filed 09/30/18 Page 2 of 2




       The Clerk of the Court is respectfully directed to terminate the summary judgment

motion, Doc. 65, and the Daubert motions, Docs. 88, 106, 109, 112, 115, 118.



Dated: September 30, 2018
       New York, New York




                                              2
